(1 of 2), Page 1 of 2           Case: 24-2864, 10/30/2024, DktEntry: 5.1, Page 1 of 2




                                 United States Court of Appeals for the Second Circuit
                                         Thurgood Marshall U.S. Courthouse
                                                   40 Foley Square
                                                 New York, NY 10007

              DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
              CHIEF JUDGE                                                  CLERK OF COURT


              Date: October 30, 2024                                       DC Docket #: 1:22-cv-1470
              Docket #: 24-2864                                            DC Court: SDNY (NEW YORK
              Short Title: Tucker v. United States of America              CITY)
                                                                           Trial Judge - P. Kevin Castel




                                                 DOCKETING NOTICE

              A notice of appeal filed by Scott Tucker in the above referenced case was docketed today as
              24-2864. This number must appear on all documents related to this case that are filed in this
              Court. For pro se parties the docket sheet with the caption page, and an Acknowledgment and
              Notice of Appearance Form are enclosed. In counseled cases the docket sheet is available on
              PACER. Counsel must access the Acknowledgment and Notice of Appearance Form from this
              Court's website http://www.ca2.uscourts.gov.

              The form must be completed and returned within 14 days of the date of this notice. The form
              requires the following information:

              YOUR CORRECT CONTACT INFORMATION: Review the party information on the docket
              sheet and note any incorrect information in writing on the Acknowledgment and Notice of
              Appearance Form.

              The Court will contact one counsel per party or group of collectively represented parties when
              serving notice or issuing our order. Counsel must designate on the Acknowledgment and Notice
              of Appearance a lead attorney to accept all notices from this Court who, in turn will, be
              responsible for notifying any associated counsel.

              CHANGE IN CONTACT INFORMATION: An attorney or pro se party who does not
              immediately notify the Court when contact information changes will not receive notices,
              documents and orders filed in the case.

              An attorney and any pro se party who is permitted to file documents electronically in ACMS
              must notify the Court of a change to the user's mailing address, business address, telephone
              number, or e-mail. To update contact information, a Filing User must access PACER's Manage
(2 of 2), Page 2 of 2            Case: 24-2864, 10/30/2024, DktEntry: 5.1, Page 2 of 2




              My Appellate Filer Account, https://www.pacer.gov/psco/cgi-bin/cmecf/ea-login.pl. The Court's
              records will be updated within 1 business day of a user entering the change in PACER.

              A pro se party who is not permitted to file documents electronically must notify the Court of a
              change in mailing address or telephone number by filing a letter with the Clerk of Court.

              CAPTION: In an appeal, the Court uses the district court caption pursuant to FRAP 12(a), 32(a).
              For a petition for review or original proceeding the Court uses a caption pursuant to FRAP 15(a)
              or 21(a), respectively. Please review the caption carefully and promptly advise this Court of any
              improper or inaccurate designations in writing on the Acknowledgment and Notice of
              Appearance form. If a party has been terminated from the case the caption may reflect that
              change only if the district court judge ordered that the caption be amended.

              APPELLATE DESIGNATIONS: Please review whether petitioner is listed correctly on the party
              listing page of the docket sheet and in the caption. If there is an error, please note on the
              Acknowledgment and Notice of Appearance Form. Timely submission of the Acknowledgment
              and Notice of Appearance Form will constitute compliance with the requirement to file a
              Representation Statement required by FRAP 12(b).

              For additional information consult the Court's instructions posted on the website.

              Inquiries regarding this case may be directed to 212-857-8551.
